         Case 21-33776-KRH                       Doc 1     Filed 12/19/21 Entered 12/19/21 20:07:11                              Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               NK Leasing Limited


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   IE9732017E


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          Bedford Place                                               550 Andrews Avenue, Suite 300
                                          Number           Street                                     Number         Street

                                          Henry Street, 5th Floor
                                                                                                      P.O. Box

                                          Limerick                      Ireland    V94 K6YY           Fort Lauderdale             Florida      33301
                                          City                            State     Zip Code          City                         State      Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business


                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.nac.dk

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            NK Leasing Limited                                             Case number (if known)
           Name



7.   Describe debtor’s business
                                          A. Check One:
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          5324 - Commercial and Industrial Machinery and Equipment Rental and Leasing

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

      A debtor who is a “small            ☒ Chapter 11. Check all that apply:
      business    debtor”   must
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                  affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                   balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                             1116(1)(B).
      not the debtor is a “small
                                                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                              liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                               and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                              selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if any of these documents do not exist,
                                                              follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12
9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                       Case number
     separate list.                                                                          MM/DD/YYYY




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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    Debtor           NK Leasing Limited                                                  Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                      Relationship     Affiliate
                                                         Debtor       See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Eastern District of Virginia
                                                                                                                        When             12/17/2021
       List all cases. If more than 1,                                                                                                   12/19/2021
       attach a separate list.                                                                                                           MM / DD / YYYY
                                                        Case number, if known __See Rider 1 ______________

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?
                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                            other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                           Number         Street



                                                                                           City                                 State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                         ☒      1,000-5,000                     ☐     25,001-50,000
        creditors 1                       ☐     50-99                        ☐      5,001-10,000                    ☐     50,001-100,000
                                          ☐     100-199                      ☐      10,001-25,000                   ☐     More than 100,000
                                          ☐     200-999


1      The estimated number of creditors and estimated amounts of assets and liabilities are being listed on a consolidated basis for all Debtor affiliates
       listed on Rider 1, attached hereto.

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Debtor           NK Leasing Limited                                                Case number (if known)
          Name



15. Estimated assets                  ☐    $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐    $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐    $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐    $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities             ☐    $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐    $50,001-$100,000            ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐    $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐    $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of       petition.
    debtor
                                       I have been authorized to file this petition on behalf of the debtor.
                                       I have examined the information in this petition and have a reasonable belief that the information is true and
                                       correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on         12/19/2021
                                                            MM/ DD / YYYY


                                            /s/ Justin Bickle                                                   Justin Bickle
                                            Signature of authorized representative of debtor                 Printed name

                                            Title    Authorized Signatory




18. Signature of attorney                   /s/ Michael A. Condyles                                        Date        12/19/2021
                                            Signature of attorney for debtor                                           MM/DD/YYYY



                                            Michael A. Condyles
                                            Printed name
                                            Kutak Rock LLP
                                            Firm name
                                            901 East Byrd Street, Suite 1000
                                            Number                 Street
                                            Richmond                                                               VA                23219
                                            City                                                                   State               ZIP Code
                                            (804) 343-5227                                                         Michael.Condyles@KutakRock.com
                                            Contact phone                                                              Email address
                                            27807                                                   VA
                                            Bar number                                          State




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 Fill in this information to identify the case:
                                                                              ,
 United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                        (State)                                                          ☐ Check if this is an
 Case number (if known):                                  Chapter   11                                       amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On December 17, 2021, the Debtor’s affiliate, Nordic Aviation Capital Pte. Ltd. and three affiliated entities
listed below filed petitions in the United States Bankruptcy Court for the Eastern District of Virginia (the “Court”) for
relief under chapter 11 of title 11 of the United States Code. The Debtors’ cases are currently pending before the
Court under Case Nos. 21-33688, 21-33689, 21-33690, and 21-33691.

 Nordic Aviation Capital Pte. Ltd.                                       Case No. 21-33688
 NAC Aviation 17 Limited                                                 Case No. 21-33689
 NAC Aviation 20 Limited                                                 Case No. 21-33690
 Nordic Aviation Capital A/S                                             Case No. 21-33691

         On the date hereof, each of the entities listed below (together with Nordic Aviation Capital Pte. Ltd., NAC
Aviation 17 Limited, NAC Aviation 20 Limited, and Nordic Aviation Capital A/S, collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Eastern District of Virginia for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these chapter 11 cases under the
case number assigned to the chapter 11 case of Nordic Aviation Capital Designated Activity Company.

   Nordic Aviation Capital Designated Activity Company                   NAC Aviation 8 Limited
   ALC ATR 426 1012, LLC                                                 NAC Aviation Canada Inc.
   ALC ATR 426 1018, LLC                                                 NAC Aviation Colorado 1 LLC
   ALC ATR 726 1086, LLC                                                 NAC Aviation Colorado 2 LLC
   ALC ATR 726 1103, LLC                                                 NAC Aviation Cyprus 1 Limited
   ALC ATR 726 1112, LLC                                                 NAC Aviation Cyprus 2 Limited
   Aldus Portfolio B Limited                                             NAC Aviation Cyprus 3 Limited
   Aldus Portfolio Leasing Limited                                       NAC Aviation France 1 SAS
   Argos Aviation Malta Limited                                          NAC Aviation France 5 SAS
   Eagle I Limited                                                       NAC Aviation France 6 SAS
   Enclave Aviation Sweden AB                                            NAC Aviation France 7 SAS
   Fortuna Aviation Designated Activity Company                          NAC Aviation UK 1 Limited
   Fortuna Aviation Holding Limited                                      NAC Aviation UK 2 Limited
   Freyja Aviation Four Ireland Limited                                  NAC Aviation UK 3 Limited
   Freyja Aviation One Ireland Designated Activity
                                                                         NAC Aviation US LLC
   Company
   Freyja Aviation One Malta Limited                                     NAC Services China Co., Ltd.
   Freyja Aviation Three Ireland Limited                                 NAC Services France SAS
   Freyja Aviation Two Ireland Limited                                   NAC Services Malta Limited
   JAG VIII LLC                                                          NAC Services UK Limited
   Jetscape Aviation Group, LLC                                          NK Aviation Limited
   Jetscape Aviation Group Ltd.                                          NK Leasing Limited
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Jetscape Commercial Jets Limited                Nordic Aviation Capital Inc.
Jetscape, Inc.                                  Nordic Aviation Contractor (Ireland) Limited
Magni Aviation One Sweden AB                    Nordic Aviation Financing ApS
Merlano Limited                                 Nordic Aviation Financing One Pte. Ltd.
Minerva Aviation Malta Limited                  Nordic Aviation Leasing Eight Pte. Ltd.
NAC Aviation 10 Limited                         Nordic Aviation Leasing Eighteen Pte. Ltd.
NAC Aviation 11 Limited                         Nordic Aviation Leasing Eleven Pte. Ltd.
NAC Aviation 12 Limited                         Nordic Aviation Leasing Fifteen Pte. Ltd.
NAC Aviation 14 Limited                         Nordic Aviation Leasing Fourteen Pte. Ltd.
NAC Aviation 15 Limited                         Nordic Aviation Leasing Nine Pte. Ltd.
NAC Aviation 16 Limited                         Nordic Aviation Leasing Nineteen Pte. Ltd.
NAC Aviation 18 Limited                         Nordic Aviation Leasing Pte. Ltd.
NAC Aviation 19 Limited                         Nordic Aviation Leasing Seven Pte. Ltd.
NAC Aviation 2 A/S                              Nordic Aviation Leasing Seventeen Pte. Ltd.
NAC Aviation 2 Limited                          Nordic Aviation Leasing Six Pte. Ltd.
NAC Aviation 21 Limited                         Nordic Aviation Leasing Sixteen Pte. Ltd.
NAC Aviation 22 Limited                         Nordic Aviation Leasing Twelve Pte. Ltd.
NAC Aviation 23 Limited                         Nordic Aviation Leasing Twenty Eight Pte. Ltd.
NAC Aviation 24 Limited                         Nordic Aviation Leasing Twenty Five Pte. Ltd.
NAC Aviation 25 Limited                         Nordic Aviation Leasing Twenty Four Pte. Ltd.
NAC Aviation 26 Limited                         Nordic Aviation Leasing Twenty Nine Pte. Ltd.
NAC Aviation 27 Limited                         Nordic Aviation Leasing Twenty One Pte. Ltd.
NAC Aviation 28 Limited                         Nordic Aviation Leasing Twenty Pte. Ltd.
NAC Aviation 29 Designated Activity Company     Nordic Aviation Leasing Twenty Seven Pte. Ltd.
NAC Aviation 3 A/S                              Nordic Aviation Leasing Twenty Three Pte. Ltd.
NAC Aviation 3 Limited                          Nordic Aviation Leasing Twenty Two Pte. Ltd.
NAC Aviation 30 Limited                         Nordic Aviation Leasing Two Pte. Ltd.
NAC Aviation 31 Limited                         Nordic Aviation Services Limited
NAC Aviation 32 Limited                         Nordic Aviation Services US, LLC
NAC Aviation 33 Limited                         Tiradentes Portfolio A Limited
NAC Aviation 34 Limited                         Tiradentes Portfolio B Limited
NAC Aviation 35 Limited                         Tiradentes Portfolio C Limited
NAC Aviation 36 Limited                         Tiradentes Portfolio D Limited
NAC Aviation 4 Limited                          Tyche Aviation Designated Activity Company
NAC Aviation 6 Limited                          Tyche Aviation Holding Limited
NAC Aviation 7 Limited




 Rider 1                                                                                         Page 2
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION

                                                       )
    In re:                                             )     Chapter 11
                                                       )
    NK LEASING LIMITED,                                )     Case No. 21-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS 1

             Debtor              Equity Holders            Address of Equity Holder         Percentage
                                                                                               Held
                             Nordic Aviation Capital   Stratusvej 12
    NK Leasing Limited                                                                         100%
                             A/S                       7190 Billund, Denmark




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 NK LEASING LIMITED,                                  )    Case No. 21-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                           Approximate Percentage of Shares Held

 Nordic Aviation Capital A/S                                                   100%
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    Fill in this information to identify the case:

    Debtor name          Nordic Aviation Capital Designated Activity Company

    United States Bankruptcy Court for the:                            Eastern District of Virginia                                               Check if this is an
    Case number (If known):                                                                  (State)                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
        include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 30 largest unsecured claims.

                                                                                                                                               Amount of claim

                                                                                              Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                                  unsecured claim amount. If claim is partially
                                                                                                (for example,       Indicate if      secured, fill in total claim amount and
                                                                                              trade debts, bank      claim is     deduction for value of collateral or setoff to
      Name of creditor and complete               Name, telephone number and email
                                                                                                    loans,         contingent,              calculate unsecured claim.
     mailing address, including zip code             address of creditor contact
                                                                                                 professional     unliquidated,
                                                                                                services, and      or disputed     Total        1Deduction
                                                                                                 government                       claim, if     for value of       Unsecured
                                                                                                  contracts)                      partially     collateral or       Claim
                                                                                                                                  secured         setoff [1]

    PFA Pension, forsikringsaktieselskab
                                                  Attention: Lars Hougaard
    Sundkrogsgade 4
1                                                 Phone: +45-39175000                         Unsecured Notes                                                     $522,971,303
    2100 Copenhagen
                                                  Email: LHR@pfa.dk
    Denmark
                                                  Attention: Attorneys Luigi Farenga,
    Alitalia - Società Aerea Italiana S.p.A.      Francesco Astone and Valerio Di
    Via A. Nassetti, Bldg Alfa                    Gravio                                                           Contingent,
2                                                                                                 Litigation                                                        $2,321,047
    Fiumicino, Rome 00054                         Email: luigi.farenga@unipg.it,                                    Disputed
    Italy                                         francesco.astone@astoneassociati.it,
                                                  valerio.digravio@studiodigravio.com
    MTU Aero Engines AG
                                                  Attention: Matthias Klepsch
    Dachauer Str. 665
3                                                 Phone: +49 89 1489-0                          Trade Vendor       Unliquidated                                     $1,423,000
    80995 München
                                                  Email: Matthias.KLEPSCH@mtu.de
    Germany
    Pratt & Whitney Canada (SEA) Pte Ltd
    10 Loyang Crescent                            Attention: Linda Tan
4                                                                                               Trade Vendor       Unliquidated                                     $1,200,000
    509010                                        Email: Linda.Tan@pwc.ca
    Singapore
    Titan International Finance Ltd               Attn: c/o Kevin J. Johnson, Fafinski
    788-790 Finchley Road                         Mark & Johnson, P.A.
5                                                                                               Trade Vendor                                                        $1,086,100
    London NW11 7TJ                               Phone: (952) 995-9576
    United Kingdom                                Email: kevin.johnson@fmjlaw.com
    Pratt and Whitney Canada
                                                  Attention: Firas Hussein
    1000 Marie-Victorin
6                                                 Phone: +65 97399765                           Trade Vendor       Unliquidated                                     $1,000,432
    Longueil, QC, J4G 1A1
                                                  Email: firas.hussein@pwc.ca
    Canada
    De Havilland Aircraft of Canada Ltd           Attention: Murahary Golla
    123 Garratt Blvd                              Phone: +4153754179
7                                                                                               Trade Vendor                                                          $530,260
    Toronto, Ontario, M3K 1Y5                     Email:
    Canada                                        murahary.golla@dehavilland.com



           1
               The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                         Amount of claim

                                                                                        Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                            unsecured claim amount. If claim is partially
                                                                                          (for example,       Indicate if      secured, fill in total claim amount and
                                                                                        trade debts, bank      claim is     deduction for value of collateral or setoff to
       Name of creditor and complete           Name, telephone number and email
                                                                                              loans,         contingent,              calculate unsecured claim.
      mailing address, including zip code         address of creditor contact
                                                                                           professional     unliquidated,
                                                                                          services, and      or disputed     Total        1Deduction
                                                                                           government                       claim, if     for value of       Unsecured
                                                                                            contracts)                      partially     collateral or       Claim
                                                                                                                            secured         setoff [1]


     Skyservice FBO                            Attention: Pedro Carvalho
     6120 Midfield Road                        Phone: +1 647 200 7534
8                                                                                        Trade Vendor       Unliquidated                                        $419,000
     Mississauga, ON, L5P 1B1                  Email:
     Canada                                    pedro_carvalho@skyservice.com


     Lufthansa Technik AERO Alzey              Attention: Katrin Bommersheim
     Weg beim Jäger 193                        Phone: +49 6731 4970
9                                                                                        Trade Vendor       Unliquidated                                        $375,400
     22335, Hamburg                            Email:
     Germany                                   katrin.bommersheim@lhaero.com
     APD Airplane Delivery
                                               Attention: Jessica Clemencon
     135 Avenue Des Comminges
10                                             Phone: +33 6 42 91 69 41                  Trade Vendor                                                           $268,480
     31270, Cugnaux
                                               Email: jcu@airplane.aero
     France
     Coopersa RL
                                               Attention: Alberto Zuniga
     300 Metros Oeste Del Aeropuerto
11                                             Phone: 50624372824                        Trade Vendor       Unliquidated                                        $250,000
     International Juan Santamaria, Alajuela
                                               Email: azuniga@coopesa.com
     Costa Rica
     Rheinland Air Services GmbH
                                               Attention: Detlef Flintz
     Flughafenstrasse 31
12                                             Phone: +49 178 2550 218                   Trade Vendor       Unliquidated                                        $240,000
     41066, Mönchengladbach
                                               Email: d.flintz@ras.de
     Germany
     Wojskowe Zakłady Lotnicze Nr 2 S.A.
                                               Attention: Robert Grochowski
     ul. Szubińska 107
13                                             Phone: +48 695 894 871                    Trade Vendor       Unliquidated                                        $220,000
     85-915, Bydgoszcz
                                               Email: r.grochowski@wzl2.mil.pl
     Poland
     SAMCO Aircraft Maintenance BV
                                               Attention: Andre Velda
     Horsterweg 19
14                                             Phone: +31(0) 650243228                   Trade Vendor                                                           $197,369
     6199 AC Maastricht Airport
                                               Email: velda.a@samco.aero
     The Netherlands
     Maastricht Aviation Aircraft Services
     BV
                                               Phone: +353 1 2541966
15   Horsterweg 25                                                                       Trade Vendor                                                           $171,951
                                               Email: apmaasus@maasaviation.com
     6199 AC Maastricht
     Netherlands
     Focus.Aero Aps
                                               Attention: Tolja Henningsen
     Hørrelundvej 4
16                                             Phone: +45 29866555                       Trade Vendor       Unliquidated                                        $159,750
     8653 Them
                                               Email: th@focus.aero
     Denmark
     Air Philippines Corporation
     Admin. Builidng, PAL Gate 1,              Attention: Joseph Eli Tan
17   Andrews Avenue                            Phone: +63 977 807 2695                   Trade Vendor       Unliquidated                                        $120,000
     Pasay City, Manila 1300                   Email: josepheli_tan@pal.com.ph
     Philippines
     Park Aviation Limited
     Unit 2.1, Block 2, Woodford Business      Attention: Niall Duggan
18   Park                                      Phone: +353 87 067 0819                   Trade Vendor       Unliquidated                                        $118,000
     Santry, Dublin D17 E925                   Email: niall.duggan@cae.com
     Ireland
                                               Attention: Victoria Goodenough
     DIRECT MAINTENANCE BV
                                               Phone: + 31 6 19 73 26 09
     Fokkerweg 195
19                                             Email:                                    Trade Vendor       Unliquidated                                          $70,000
     1438BG, Oude Meer
                                               victoria.goodenough@directmaintena
     The Netherlands
                                               nce.aero




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                                                                                                                                      Amount of claim

                                                                                     Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                         unsecured claim amount. If claim is partially
                                                                                       (for example,       Indicate if      secured, fill in total claim amount and
                                                                                     trade debts, bank      claim is     deduction for value of collateral or setoff to
       Name of creditor and complete         Name, telephone number and email
                                                                                           loans,         contingent,              calculate unsecured claim.
      mailing address, including zip code       address of creditor contact
                                                                                        professional     unliquidated,
                                                                                       services, and      or disputed     Total        1Deduction
                                                                                        government                       claim, if     for value of       Unsecured
                                                                                         contracts)                      partially     collateral or       Claim
                                                                                                                         secured         setoff [1]

     StandardAero France                     Attention: Worhiya Diallo
     1 Boulevard du 19 mars 1962             Phone: +33 (0)130185377
20                                                                                    Trade Vendor       Unliquidated                                          $59,000
     95500 Gonesse Cedex                     Email:
     France                                  Worhiya.Diallo@StandardAero.com
     Magnetic MRO AS                         Attention: Kaspars Podins
     Väike-Sõjamäe 1a                        Phone: +37253627107
21                                                                                    Trade Vendor       Unliquidated                                          $56,387
     11415, Tallinn                          Email:
     Estonia                                 kaspars.podins@magneticmro.com
     Azerbaijan Airline
                                             Attention: Aladdin Guliyev
     Heydar Aliyev International Airport
22                                           Phone: +99 412 497 26 00                 Trade Vendor       Unliquidated                                          $50,000
     Baku, AZ 1044
                                             Email: Aladdin.Guliyev@airport.az
     Azerbaijan
     Avions De Transport Regional G.I.E.     Attention: Barbara Moreau
     1, Allée Pierre Nadot                   Phone: +33 (0)6 15 07 86 03
23                                                                                    Trade Vendor       Unliquidated                                          $50,000
     31712, Blagnac Cedex                    Email: Barbara.moreau@atr-
     France                                  aircraft.com
     Fokker Services Asia Pte. Ltd.
     1800 West Camp Road, Seletar            Attention: Eric Lim
24   Aerospace Park                          Phone: +65 9818 5741                     Trade Vendor       Unliquidated                                          $48,000
     Singapore, 797521                       Email: eric.lim@fokker.com
     Singapore
     PT Tobe Aviasi Indonesia TMB
     Aviation                                Attention: Tommy Wibowo
     Green Office Park One, 6th Floor,       Phone: +62 818 988 731
25                                                                                    Trade Vendor       Unliquidated                                          $44,000
     Suite 620                               Email:
     BSD City, Tangerang, 15345              tommy.wibowo@tbmaviation.com
     Indonesia
     Ascent Aviation Services, LLC
                                             Attention: Mike Scott
     7001 S Park Ave
26                                           Phone: +1(520) 429-8011                  Trade Vendor                                                             $42,098
     Tucson, AZ 85756
                                             Email: mscott@ascentmro.com
     United States
     Honeywell International Inc             Phone: 1 (877) 841-2840
     23500 W 105TH STREET                    Email:
27                                                                                    Trade Vendor                                                             $42,000
     OLATHE, KS 66061                        honeywell.accounts.payable@honeyw
     United States                           ell.com
     PT Gapura Angkasa
     Gedung DAPENRA Lt.1-3 Jl. Angkasa       Attention: Ariyo Tri Wulandaru
28   Blok B12 Kav.8, Kotabaru Bandar         Phone: +62 8123985334                    Trade Vendor       Unliquidated                                          $39,000
     Kemayoran Jakarta Pusat – 10610,        Email: ariyotw@gapura.id
     Indonesia
     Embraer Aircraft Maintenance Services
                                             Attention: Neal Reagor
     150 East Drive
29                                           Phone: +1 615 399 6124                   Trade Vendor       Unliquidated                                          $33,900
     Macon, GA 31216
                                             Email: nreagor@embraer.net.br
     United States
     SkyOn Aeroengineering                   Attention: Camilo Vanegs
     Transv 75#                              Phone: +57 317 4330576
30                                                                                    Trade Vendor       Unliquidated                                          $25,900
     83C-03, Bogota                          Email:
     Colombia                                camilo.vanegas@skyon.com.co




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    Fill in this information to identify the case and this filing:

   Debtor Name          NK Leasing Limited

   United States Bankruptcy Court for the:                Eastern District of Virginia
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                        List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Justin Bickle
                                        12/19/2021
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Justin Bickle
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               NK LEASING LIMITED
                               (Company Number 478704)

                               (the “Company”)

                               Minutes of a meeting (the “Meeting”) of the board (the “Board”)
                               of directors of the Company (the “Directors”)
                               held
                               on 16 December 2021 at 7.00 pm Dublin time

 PRESENT:                       Ms. Jette Hulgaard
                                Mr. Tom Turley

 IN ATTENDANCE:                 Mr. Fergus Doorly – William Fry LLP
                                Mr. Ivor Banim – William Fry LLP
                                Mr. Craig Sowman – William Fry LLP
                                Mr. Mark Quealy – William Fry LLP
                                Mr. William Glaister – Clifford Chance
                                Mr. Chad Husnick – Kirkland & Ellis
                                Ms. Emily Geier – Kirkland & Ellis
                                Ms. Anne Wallice – Kirkland & Ellis
                                Mr. Rod Sheridan
                                Mr. Justin Bickle
                                Mr. Paul O’Donnell
                                Mr. Martin Cooke
                                Mr. Patrick Blaney
                                Mr. Phil Bolger
                                Mr. Paul Keglevic
                                Mr. Stefan Selig
                                Mr. Jeff Dane
                                Mr. Jeff Stein
                                Mr. Jon Foster
                                Mr. Jake Wood
                                Mr. Anthony Horton
                                Mr. Jame Donath
                                Mr. Mark Cox
                                Mr. Harvey Tepner
                                Mr. Gary Begeman
                                Mr. Julian Markby
                                Mr. Oscar Miorner
                                Mr. Andy Solem
                                Mr. Andrew Cameron
                                Mr. Mattias Andersson
                                Mr. Andreas Panayiotou
                                Mr. Costas Christoforou
                                Mr. Trevor Hall
                                Mr. Ryan DeBrusk
                                Mr. Frank Pederson

 APOLOGIES:                     Ms. Elaine Kirby

 1.     Chairman and related matters.

 1.1    Mr. Turley took the Chair and noted that due notice of the Meeting had been given to each
        Director, that all the Directors present were entitled to vote in accordance with the constitution
        of the Company (the “Constitution”) and that a quorum was present.

 1.2    It was noted that, as a result of restrictions on travel due to the ongoing COVID-19 pandemic
        (the “COVID-19 Restrictions”), certain of the Directors were unable to be physically present
        in Ireland for the Meeting. Accordingly, such Directors were attending and participating in the
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       Meeting by means of a conference telephone facility initiated from Ireland in accordance with
       the applicable provisions of the Companies Act 2014 (the “Act”) and the Constitution. It was
       further noted that had the COVID-19 Restrictions not been in place, such Directors would have
       physically attended the Meeting in Ireland.

 1.3   Accordingly, the Chairman declared the Meeting had been duly convened and constituted and
       opened the Meeting.

 2.    Declarations of interest and other confirmations.

 2.1   Each of the Directors present declared the manner (if any) in which he is interested in the
       business to be transacted at the Meeting for the purposes of Section 231 of the Act. The
       secretary of the Company (the “Secretary”) was instructed to note the aforesaid interests in
       the Company’s register of Directors’/Secretary’s interests.

 2.2   Each Director present confirmed that he held no more than 25 directorships within the meaning
       of Section 142 of the Act and therefore each was eligible to vote on all resolutions brought
       before the Meeting.

 2.3   Each Director present confirmed that he is not: (a) the subject of a declaration made under
       Section 819 of the Act; (b) disqualified or deemed disqualified from acting as a director under
       Sections 839, 840 or 841 of the Act; or (c) subject to a disqualification order under Section 842
       of the Act.

 3.    Background and Purpose of the Meeting.

 3.1   The Chairman noted that the purpose of the Meeting is for the Board to consider and approve
       (i) the entry into that certain restructuring support agreement (together with all exhibits and
       schedules thereto, as may be amended, restated, amended and restated, supplemented, or
       otherwise modified from time to time, the “Restructuring Support Agreement”); (ii) the entry
       into that certain backstop commitment agreement (the “Backstop Agreement”) through which
       ordinary shares will be issued pursuant to the terms set forth therein; (iii) the filing of a voluntary
       petition for relief for the Company under the provisions of chapter 11 of title 11 of the United
       States Code, 11 U.S.C. § 101 et seq. (as amended, the "Bankruptcy Code") pursuant to
       applicable law and in accordance with the requirements of the Company's governing
       documents and applicable law (the "Restructuring Matters"); and (iv) to the extent applicable,
       authorizing entry into and performance under the DIP Facility Documents and the Exit Facility
       Documents, each as defined herein. In advance of the Meeting, the Board received and
       considered certain materials presented by the management of the Company and the
       Company’s financial and legal advisors, including, but not limited to, materials regarding the
       liabilities and obligations of the Company, its liquidity, strategic alternatives available to it, and
       the effect of the foregoing on the Company's business.

 4.    Resolutions.

       The Board, having reviewed and considered the materials presented by the management of
       the Company and the Company's financial and legal advisors, and having had adequate
       opportunity to consult such persons regarding the materials presented, obtain additional
       information, and to fully consider each of the strategic alternatives available to the Company,
       therefore RESOLVED THAT:

       Restructuring Support Agreement.


 4.1   In the judgment of the Board it is desirable and in the best interest of the Company, the
       stakeholders, and the creditors, that the Company enter into the Restructuring Support
       Agreement by and among the Company, certain of its affiliates, and the Consenting Creditors
       (as defined in the Restructuring Support Agreement) substantially in the form presented to the
       Board on or in advance of the Meeting, and that the Company’s performance of its obligations
       under the Restructuring Support Agreement, and all other exhibits, schedules, attachments,
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       and ancillary documents related thereto, hereby is, in all respects, authorized and approved;
       and

 4.2   Any director or other duly appointed officer of the Company or of Nordic Aviation Capital DAC
       (collectively, the “Authorized Persons”) shall be, and each of them individually hereby is,
       authorized and directed for and on behalf of the Company to take all actions (including, without
       limitation, to negotiate and execute (under the common seal of the Company, if appropriate,
       and provided that any use of the Company’s common seal is undertaken in accordance with
       applicable law and any applicable provisions of the Company’s constitution) any documents,
       certificates, supplemental agreements, and instruments) necessary or advisable to finalize the
       Restructuring Support Agreement, to enter into and perform under the Restructuring Support
       Agreement, and the transactions contemplated thereunder that, in the judgment of the
       applicable Authorized Person, are necessary or appropriate to effectuate and carry out the
       purposes and intent of the foregoing resolutions (such determination to be conclusively
       evidenced by the taking of any such action or execution thereof).

       Backstop Agreement.


 4.3   In the judgment of the Board it is desirable and in the best interest of the Company, the
       stakeholders, and the creditors, that the Company enter into the Backstop Agreement by and
       among Nordic Aviation Capital DAC (“NAC DAC”), certain of its subsidiaries, and the
       Commitment Parties (as defined in the Backstop Agreement) substantially in the form
       presented to the Board on or in advance of the Meeting, and that the Company’s performance
       of its obligations under the Backstop Agreement, and all other exhibits, schedules,
       attachments, and ancillary documents related thereto, hereby is, in all respects, authorized
       and approved; and

 4.4   Any Authorized Person shall be, and each of them individually hereby is, authorized and
       directed for and on behalf of the Company to take all actions (including, without limitation, to
       negotiate and execute (under the common seal of the Company, if appropriate, and provided
       that any use of the Company’s common seal is undertaken in accordance with applicable law
       and any applicable provisions of the Company’s constitution) any documents, certificates,
       supplemental agreements, and instruments) necessary or advisable to finalize the Backstop
       Agreement, to enter into and perform under the Backstop Agreement, and the transactions
       contemplated thereunder that, in the judgment of the applicable Authorized Person, are
       necessary or appropriate to effectuate and carry out the purposes and intent of the foregoing
       resolutions (such determination to be conclusively evidenced by the taking of any such action
       or execution thereof).

       Chapter 11 Filing.

 4.5   In the judgment of the Board it is desirable and in the best interest of the Company, the
       stakeholders, and the creditors, that the Company files or cause to be filed voluntary petitions
       for relief (the "Bankruptcy Petitions") under the provisions of chapter 11 of the Bankruptcy
       Code for the Company and any of its subsidiaries and, in accordance with the requirements in
       the Company’s governing documents and applicable law, hereby consents to, authorizes and
       approves, the filing of the Bankruptcy Petitions; and

 4.6   Any Authorized Person be, and hereby are, authorized and appointed to act as signatory and
       attorney on behalf of the Company in respect of the Restructuring Matters and/or any persons
       to whom such Authorized Persons and/or officers delegate certain responsibilities, be, and
       hereby are, authorized to execute (under the common seal of the Company, if appropriate,
       and provided that any use of the Company’s common seal is undertaken in accordance with
       applicable law and any applicable provisions of the Company’s constitution) and file on behalf
       of the Company and its subsidiaries all petitions, schedules, lists, and other motions, papers,
       or documents, and to take any and all action that they deem necessary or proper to obtain
       such relief, including, but not limited to, any action necessary or proper to maintain the ordinary
       course operations of the Company’s or any of its subsidiary’s businesses.
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        Retention of Professionals.

 4.7    Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed to
        employ on behalf of the Company: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy
        counsel; (ii) the law firm of Kutak Rock LLP as co-bankruptcy counsel; (iii) the law firm of
        Clifford Chance LLP as co-corporate counsel; (iv) the law firm of William Fry LLP as co-
        corporate counsel; (v) the law firm of Gorrissen Federspiel as co-corporate counsel; (vi) N.M.
        Rothschild & Sons Limited as financial advisor; (vii) Ernst & Young LLP as restructuring and
        tax advisor; (viii) PricewaterhouseCoopers LLP as tax and accounting advisors; (ix) Epiq
        Corporate Restructuring, LLC as notice and claims agent; and (x) any other legal counsel,
        accountants, financial advisors, restructuring advisors or other professionals the Authorized
        Persons deem necessary, appropriate or advisable; each to represent and assist the Company
        in carrying out its duties and responsibilities and exercising its rights under the Bankruptcy
        Code and any applicable law (including, but not limited to, the law firms filing any pleadings or
        responses); and in connection therewith, the Authorized Persons, be, and hereby are
        authorized, empowered and directed, in accordance with the terms and conditions hereof, to
        execute (under the common seal of the Company, if appropriate, and provided that any use of
        the Company’s common seal is undertaken in accordance with applicable law and any
        applicable provisions of the Company’s constitution) appropriate retention agreements, pay
        appropriate retainers, and to cause to be filed appropriate applications for authority to retain
        such services; and

 4.8    Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
        execute (under the common seal of the Company, if appropriate, and provided that any use of
        the Company’s common seal is undertaken in accordance with applicable law and any
        applicable provisions of the Company’s constitution) and file all petitions, schedules, motions,
        lists, applications, pleadings, and other papers, and to perform such further actions and
        execute (under the common seal of the Company, if appropriate, and provided that any use of
        the Company’s common seal is undertaken in accordance with applicable law and any
        applicable provisions of the Company’s constitution) such further documentation that the
        Authorized Persons in their absolute discretion deem necessary, appropriate or desirable in
        accordance with these resolutions.

        Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection.

 4.9    In the judgment of the Board it is desirable and in the best interest of the Company, its
        stakeholders, and its creditors, to obtain the benefits of (i) the use of cash collateral, as such
        term is defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”), which is security
        for certain of the Company’s prepetition secured lenders (the "Prepetition Secured
        Lenders”) under certain credit facilities by and among the Company, the guarantors party
        thereto, and the lenders party thereto; and (ii) the incurrence of debtor-in-possession financing
        obligations (“DIP Financing”) by entering into that certain Superpriority Senior Secured
        Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement”) by and among NAC
        DAC, certain of its subsidiaries, the financial institutions from time to time party thereto and
        their successors and assigns (collectively the “DIP Lenders”), Wilmington Trust, National
        Association in its capacity as agent for the DIP Lenders (in such capacity and together with
        any successor or assigns, the “DIP Agent”) on the terms set forth in that certain commitment
        letter (the “DIP Commitment Letter”) by and among NAC DAC, certain of its subsidiaries, and
        the Commitment Parties (as defined in the DIP Commitment Letter);

 4.10   In order to use and obtain the benefits of DIP Financing and Cash Collateral, and in
        accordance with section 363 of the Bankruptcy Code, the Company will provide certain
        adequate protection to the Prepetition Secured Lenders (the “Adequate Protection
        Obligations”) as documented in proposed interim and final orders (collectively, the
        “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent
        that the Company is required to obtain consent from the Prepetition Secured Lenders to enter
        into any of the DIP Facility Documents, as defined herein, such consent has been (or will be)
        obtained from the Consenting Creditors under the Restructuring Support Agreement or
        otherwise;
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 4.11   In the judgment of the Board, the form, terms, and provisions of each of the instruments and
        documents listed below (collectively, the "DIP Facility Documents”), substantially in the forms
        circulated to the Board, and the Company’s execution, delivery and performance of its
        obligations under the DIP Facility Documents, including without limitation the grant of security
        interests under the DIP Facility Documents, and any borrowings or guaranty therewith, be, and
        hereby are, in all respects, authorized and approved:

        4.11.1   the DIP Commitment Letter;

        4.11.2   the DIP Credit Agreement;

        4.11.3   any promissory note executed by the Company in connection with the DIP Credit
                 Agreement;

        4.11.4   the Loan Guaranty (as defined in the DIP Credit Agreement) and any other guarantee
                 in connection with the DIP Credit Agreement;

        4.11.5   the Security Agreement (as defined in the DIP Credit Agreement) and any other
                 security agreement or pledge agreement in connection with the DIP Credit
                 Agreement;

        4.11.6   an Irish law-governed debenture in favour of the DIP Agent;

        4.11.7   the Financing Orders; and

        4.11.8   all other certificates, instruments and documents executed or delivered to or in favor
                 of any of the DIP Lenders or the DIP Agent in connection with the loans made and
                 transactions contemplated under the DIP Credit Agreement, as the same may be
                 amended, supplemented or replaced from the time to time;

 4.12   To the extent applicable, the Company shall be, and is hereby, authorized to enter into the DIP
        Facility Documents and incur the obligations thereunder (the “DIP Obligations”), and each of
        the Authorized Persons be, and hereby are, authorized, empowered, and directed in the name
        of, and on behalf of, the Company to execute (under the common seal of the Company, if
        appropriate, and provided that any use of the Company’s common seal is undertaken in
        accordance with applicable law and any applicable provisions of the Company’s constitution)
        deliver, and perform all of the obligations and the transactions contemplated under each of the
        DIP Facility Documents in the name and on behalf of the Company, with such changes,
        additions, and modifications thereto as such Authorized Person shall approve, with such
        approval to be conclusively evidenced by such Authorized Person’s execution and delivery
        thereof;

 4.13   Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of
        the Company, to take all such further actions, or cause all such further actions to be taken and
        to execute and deliver all such further agreements, documents, instruments, certificates
        recordings, and filings, in the name and on behalf of the Company (under the common seal of
        the Company, if appropriate, and provided that any use of the Company’s common seal is
        undertaken in accordance with applicable law and any applicable provisions of the Company’s
        constitution), as in the determination of such Authorized Person shall be necessary, proper, or
        advisable in order to fully carry out the intent and accomplish the purposes of the foregoing
        resolutions and to consummate the transactions contemplated thereby, such authority to be
        conclusively evidenced by the execution of any document or the taking of any such action by
        such Authorized Person;

 4.14   Each of the Authorized Persons be, and hereby are, authorized, in the name and on behalf of
        the Company, to enter into any guarantees as described or contemplated by the DIP Facility
        Documents or any other documents, certificates, instruments, agreements, intercreditor
        agreements, any extension amendment, any incremental agreement, or any other amendment
        required to consummate the transactions contemplated by the DIP Facility Documents and
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        perform its obligations thereunder and to guarantee the payment and performance of the DIP
        Obligations of the Company and any other guarantor thereunder;

 4.15   Each of the Authorized Persons be, and hereby are, authorized, empowered, and directed in
        the name of, and on behalf of, the Company to seek authorization to incur the DIP Obligations
        and approval to use Cash Collateral pursuant to the Financing Orders, and any Authorized
        Person be, and hereby is, authorized, empowered, and directed to negotiate, execute (under
        the common seal of the Company, if appropriate, and provided that any use of the Company’s
        common seal is undertaken in accordance with applicable law and any applicable provisions
        of the Company’s constitution), and deliver any and all agreements, instruments, or
        documents, by or on behalf of the Company, necessary to implement the postpetition
        financing, including the Adequate Protection Obligations to the Prepetition Secured Lenders
        in accordance with section 363 of the Bankruptcy Code, as well as any additional or further
        agreements for entry into the DIP Facility Documents and the use of Cash Collateral in
        connection with the chapter 11 case, which agreements may require the Company to grant
        adequate protection and liens to the Prepetition Secured Lenders and each other agreement,
        instrument, or document to be executed and delivered in connection therewith, by or on behalf
        of the Company pursuant thereto or in connection therewith, all with such changes therein and
        additions thereto as any Authorized Person approves, such approval to be conclusively
        evidenced by the taking of such action or by the execution and delivery thereof;

 4.16   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered, in
        the name of, and on behalf of, the Company to take such actions and negotiate or cause to be
        prepared and negotiated and to execute (under the common seal of the Company, if
        appropriate, and provided that any use of the Company’s common seal is undertaken in
        accordance with applicable law and any applicable provisions of the Company’s constitution),
        deliver, perform, and cause the performance of, each of the transactions contemplated by the
        DIP Facility Documents and such other agreements, certificates, instruments, receipts,
        petitions, motions, or other papers or required documents to which the Company is or will be
        party or any order entered into in connection with the chapter 11 case (together with the DIP
        Facility Documents and the Financing Orders, collectively, the “Financing Documents”) and
        to incur and pay or cause to be paid all related fees and expenses, with such changes,
        additions and modifications thereto as an Authorized Person executing the same shall
        approve;

 4.17   The Company, as debtor and debtor-in-possession under the Bankruptcy Code be, and hereby
        is, authorized, empowered, and directed to incur any and all obligations and to undertake any
        and all related transactions on substantially the same terms as contemplated under the
        Financing Documents, including granting liens on its assets to secure such obligations; and

 4.18   Each of the Authorized Persons, be, and hereby are, authorized, empowered, and directed in
        the name of, and on behalf of, the Company, to execute (under the common seal of the
        Company, if appropriate, and provided that any use of the Company’s common seal is
        undertaken in accordance with applicable law and any applicable provisions of the Company’s
        constitution) and deliver any amendments, supplements, modifications, renewals,
        replacements, consolidations, substitutions, and extensions of the postpetition financing or any
        of the Financing Documents or to do such other things which shall in his or her sole judgment
        be necessary, desirable, proper, or advisable in order to perform the DIP Obligations and to
        give effect to the foregoing resolutions, which determination shall be conclusively evidenced
        by his or her or their execution thereof.

        Exit Financing.

 4.19   In the judgment of the Board, it is desirable and in the best interest of the Company, the
        stakeholders, and the creditors, that the Company and certain of its subsidiaries and/or
        affiliates enter into a certain credit agreement (the “Exit Facility Underwriting Agreement”)
        in connection with an exit facility upon emergence from their chapter 11 cases (the “Exit
        Facility”) and grant security interests and/or guarantees in relation thereto;
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 4.20   To the extent that the Company is required to obtain consent from the Prepetition Secured
        Lenders to enter into any of the Exit Facility Documents, as defined herein, such consent has
        been (or will be) obtained from the Consenting Creditors under the Restructuring Support
        Agreement or otherwise;

 4.21   To the extent applicable, the Company, by entering into the Exit Facility, will receive direct and
        indirect benefits from the transactions contemplated by the Exit Facility Underwriting
        Agreement, the terms and conditions of which were negotiated in a prepetition Exit Facility
        Term Sheet, as defined in the Restructuring Support Agreement, and have been previously
        reviewed by the Board and consequently, the Company desires to enter into (i) the Exit Facility
        Underwriting Agreement, (ii) any related documents, and (iii) to the extent the Company is a
        party thereto, the Exit Facility Underwriting Agreement, and all other agreements, documents,
        and instruments executed or delivered in connection with the Exit Facility, including any
        guarantee agreements, notes, pledge and collateral agreements, intercreditor agreements,
        subordination agreements, fee letters, other security documents, and any other documentation
        necessary to effectuate the Exit Facility (such documents collectively, the “Exit Facility
        Documents”) and the transactions contemplated thereby;

 4.22   To the extent applicable, the Board deems the execution and delivery of the Exit Facility
        Documents and the transactions consummated thereby, to be desirable, advisable, and in the
        best interests of the Company;

 4.23   In the judgment of the Board, the execution and delivery of the Exit Facility Documents (and
        the incurrence of the obligations thereunder) by the Company, in the forms substantially
        consistent with the Exit Facility Term Sheet provided to the Board, and the consummation of
        the transactions contemplated thereunder by the Company, including (i) execution (under the
        common seal of the Company, if appropriate, and provided that any use of the Company's
        common seal is undertaken in accordance with applicable law and any applicable provisions
        of the Company's constitution), delivery, and performance of all other agreements,
        instruments, documents, notices, or certificates constituting exhibits to or that may be required,
        necessary, appropriate, desirable, or advisable to be executed pursuant to the Exit Facility
        Documents or otherwise permitted thereunder or related thereto, including interest rate,
        currency, or commodity hedging arrangements (each, an “Additional Credit Document” and
        collectively, the “Additional Credit Documents”), (ii) any granting of security interests and/or
        guarantees in relation thereto, and (iii) the making of representations and compliance with the
        covenants thereunder and the assumption of any obligations under and in respect of any of
        the foregoing, are hereby authorized and approved;

 4.24   As used herein, the term “Additional Credit Documents” shall include, but is not be limited
        to, any intercreditor agreements and all other documents, certificates, or agreements
        necessary, proper, or advisable to consummate the transactions contemplated by the Exit
        Facility Documents, including, without limitation, any note, fee letter, guarantee agreement,
        security agreement, mortgage, pledge, intellectual property security interest agreement,
        intellectual property security agreement, or other documentation similar to any of the foregoing;
        and

 4.25   Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered in
        the name of, and on behalf of, the Company to take all actions including, without limitation,
        (i) the negotiation, execution (under the common seal of the Company, if appropriate, and
        provided that any use of the Company’s common seal is undertaken in accordance with
        applicable law and any applicable provisions of the Company’s constitution), delivery, and filing
        of any agreements, certificates, instruments, or documents (including mortgages, financing
        statements, and similar documents), (ii) the modification, restatement, or amendment of any
        of the terms and conditions of any Exit Facility Document, (iii) the payment of any
        consideration, and (iv) the payment of indemnitees, fees, costs, expenses, and taxes as any
        such Authorized Person, in his or her sole discretion, may deem necessary, appropriate, or
        advisable in order to effectuate the transactions contemplated under any Exit Facility
        Document, and all acts of any such Authorized Person taken pursuant to the authority granted
        herein, or having occurred prior to the date hereof in order to effect such transactions, are
        hereby approved, adopted, ratified, and confirmed in all respects.
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        Further Actions and Prior Actions.

 4.26   The Company is hereby authorized to authorize (and the Company hereby authorizes) any
        direct or indirect subsidiary of the Company or any entity of which the Company or any
        subsidiary of the Company is the sole member, general partner, managing member, or
        equivalent manager, as applicable, to take each of the actions described in these resolutions
        or any of the actions authorized in these resolutions, and none of the resolutions contained
        herein, or action taken in furtherance hereto, shall have or cause an adverse effect on any
        such subsidiary or the Company’s interest therein (including without limitation, any automatic
        dissolution, divestiture, dissociation, or like event under applicable law).

 4.27   In addition to the specific authorizations heretofore conferred upon the Authorized Persons,
        the Authorized Persons, either individually or as otherwise required by the Company’s
        governing documents and applicable law, be, and each of them hereby is, authorized to
        execute (under hand or under the common seal of the Company if appropriate), acknowledge,
        deliver, and file any and all agreements, certificates, instruments, powers of attorney, letters,
        forms, transfer, deeds and other documents on behalf of the Company relating to the
        Restructuring Matters.

 4.28   Each of the Authorized Persons (and their designees and delegates) be, and hereby is,
        authorized and empowered, in the name of and on behalf of the Company, to take or cause to
        be taken any all such other and further action, and to execute (under the common seal of the
        Company, if appropriate, and provided that any use of the Company’s common seal is
        undertaken in accordance with applicable law and any applicable provisions of the Company’s
        constitution), acknowledge, deliver, and file any and all such agreements, certificates,
        instruments, and other documents and to pay all expenses, including but not limited to filing
        fees, in each case as in such Authorized Person's or Authorized Persons' absolute discretion,
        shall be necessary, appropriate, or desirable in order to fully carry out the intent and
        accomplish the purposes of the resolution adopted herein.

 4.29   The Board has received sufficient notice of the actions and transactions relating to the matters
        contemplated by the foregoing resolutions, as may be required by the governing documents
        of the Company, or hereby waives any right to have received such notice.

 4.30   All acts, actions, and transactions relating to the matters contemplated by the foregoing
        resolutions done in the name of and on behalf of the Company, which acts would have been
        approved by the foregoing resolutions except that such acts were taken before the adoption
        of these resolutions, are hereby in all respects approved, confirmed and ratified as the true
        acts and deeds of the Company with the same force and effect as if each such act, transaction,
        agreement, or certificate had been specifically authorized in advance by resolution of the
        Board.

 4.31   Any Authorized Person be, and each of them hereby is, authorized to do all such other acts,
        deeds and other things as the Company itself may lawfully do, in accordance with its governing
        documents and applicable law, howsoever arising in connection with the matters above, or in
        furtherance of the intentions expressed in the foregoing resolutions, including, but not limited
        to, the negotiation, finalization, execution (under hand or common seal, whether or not
        expressed to be a deed, as may be necessary or appropriate) and delivery of any other
        agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
        other documents whatsoever as the individual acting may in his/her absolute and unfettered
        discretion approve, deem or determine necessary, appropriate or advisable, such approval,
        deeming or determination to be conclusively evidenced by said individual taking such action
        or the execution thereof.

 5.     Power of Attorney.

 5.1    The Chairperson noted that it was proposed that each Authorized Person be appointed as an
        attorney (each an "Attorney") of the Company pursuant to a power of attorney in the form
        appended to these minutes in Schedule 1 (the "Power of Attorney").
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 5.2   The Power of Attorney was produced to the meeting and reviewed in detail.

 5.3   IT WAS RESOLVED that the Power of Attorney be and is hereby approved in the form
       produced to the meeting, subject to such amendments as any director of the Company may
       consider necessary or desirable (in his or her absolute discretion), IT WAS FURTHER
       RESOLVED that the Power of Attorney be executed if expressed to be under hand by any
       director or the secretary of the Company (including by means of electronic signature) or if
       expressed to be a deed or under seal by affixing the seal of the Company to the Power of
       Attorney and having it countersigned in accordance with the Company’s constitution and the
       Power of Attorney be delivered.

 6.    Filings and Records.

 6.1   IT WAS RESOLVED that the Secretary be instructed and authorised to make all necessary
       and appropriate entries in the books and registers of the Company and to arrange for or
       procure the making of all necessary filings, registrations and returns to give effect to the
       business transacted at the Meeting.

 7.    Termination.

 7.1   There being no further business, the Meeting then terminated.
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 ____________________
 Chairman

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                                             SCHEDULE 1


                                           Power of Attorney

                                       POWER OF ATTORNEY

                                                   of

                                        NK LEASING LIMITED


 This Power of Attorney is made on      December 2021 by NK Leasing Limited registered number
 478704, having its registered office at Gardens International, Henry Street, Co. Limerick, V94
 4D83, Ireland (the “Company”).

 Terms not otherwise defined in this Power of Attorney shall have the meanings set out in the minutes of
 a meeting of the board of directors of the Company held on 16 December 2021 ("Minutes").

 1.       Appointment and Powers

          By this Power of Attorney, the Company hereby irrevocably appoints each Authorized Person
          (each an “Attorney”) jointly and severally to be the true and lawful attorney of the Company,
          in its name and on its behalf to:

          1.1       negotiate consider, settle, agree, approve, sign under hand or execute as a deed (as
                    appropriate), date and deliver the Financing Documents and the Exit Facility
                    Documents subject to any amendments or variations as an Attorney may in his or
                    her discretion agree and approve and to give effect to the transactions contemplated
                    by the Financing Documents and the Exit Facility Documents;

          1.2       consider, settle, agree, approve, sign under hand or execute as a deed, date and
                    deliver any other agreements, confirmations, acknowledgements, instruments,
                    notices, requests, instructions, acknowledgments, memoranda, statements,
                    certificates, utilisation requests, note issuance requests, orders or other documents
                    as may in the opinion of an Attorney be necessary, desirable, required or requested
                    in connection with the Financing Documents and the Exit Facility Documents or to
                    give effect to the transactions contemplated by the Financing Documents and the
                    Exit Facility Documents subject to any amendments or variations as an Attorney may
                    in his or her discretion agree and approve; and

          1.3       take any steps or do anything which an Attorney in his or her absolute and unfettered
                    discretion, determines from time to time necessary, expedient, incidental, advisable
                    or appropriate in connection with the Financing Documents and the Exit Facility
                    Documents and to implement or give effect to the transactions contemplated by the
                    Financing Documents and the Exit Facility Documents including, without limitation,
                    the making and accepting of payments on behalf of the Company and effecting
                    registration of any of the Financing Documents and the Exit Facility Documents or
                    such other agreements, confirmations, acknowledgements, instruments, notices,
                    requests, instructions, acknowledgements, memoranda, statements, certificates,
                    orders or other documents referred to in paragraph 1.2 above in any public title
                    document registries or mortgage / charge registries as may be required.

 2.       Ratification, Validity and Indemnity

          2.1       The Company ratifies and shall ratify and confirm whatever an Attorney shall lawfully
                    do or cause to be done in good faith in the exercise of the power granted by this
                    Power of Attorney.
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       2.2       The Company unconditionally undertakes from time to time and at all times to
                 indemnify and keep indemnified each Attorney against all actions, proceedings,
                 claims, demands, costs, damages, losses and expenses however arising from the
                 proper exercise in good faith of any of the powers granted by this Power of Attorney.

       2.3       This Power of Attorney shall be conclusive and binding upon the Company and no
                 person or entity having dealings with an Attorney under this Power of Attorney shall
                 be under any obligation to make any inquiries as to whether or not this Power of
                 Attorney has been revoked and all acts hereunder done and all documents
                 hereunder executed shall be valid and binding on the Company (as if the same had
                 been done or executed by the Company) unless express notice of its revocation shall
                 have been received by such person or entity.

       2.4       Any person or entity dealing with an Attorney in good faith may accept a written
                 statement signed by an Attorney to the effect that this Power of Attorney has not
                 been revoked as conclusive evidence of that fact.

       2.5       The particular powers enumerated in this Power of Attorney shall be given the widest
                 interpretation.

 3.    Termination

       The Power of Attorney shall remain in full force and effect until the date which is nine (9)
       months after the date hereof on which date it shall automatically expire and until such time it
       shall be irrevocable.

 4.    Governing Law and Jurisdiction

       This Power of Attorney shall be governed by and construed in accordance with Irish law. The
       courts of Ireland shall have exclusive jurisdiction to settle any dispute or claim that arises out
       of or in connection with this Power of Attorney.
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 IN WITNESS whereof this Power of Attorney has been signed by the Company on the date first written
 above.



 SIGNED for and on behalf of
 NK LEASING LIMITED
 By:

                                                           ___________________________
                                                              Director
